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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

SS ; Case: 1:23-—mj-00003 |
TROY WEEKS Assigned To : Harvey, G. Michael
Assign. Date : 1/9/2023
Description: Complaint W/ Arre

Defendant

ARREST WARRANT

Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United §
(name of person to be arrested) 2
who is accused of an offense or violation based on the following d

O1 Indictment 1 Superseding Indictment
Probation Violation Petition © Supervised Rel olatio: a Violation Notice

This offense is briefly described as follows:

{dha PD. G

